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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

 IN THE MATTER OF AN APPLICATION FOR A

 W ARNT TO SEARCH THE PREMISES LOCATED AT

 109 ADMIR LANE, A TWO FLOOR SINGLE F AMIL Y HOME,

 BRONX, NEW YORK, 10473 (liT ARGET PREMISES 1 "), THE
                                                                                   ~ i 1/,0
 OFFICES OF IT & SECURITY SOLUTIONS LLC AT 115 EAST

 57TH STREET, 11 TH FLOOR, NEW YORK, NEW YORK

 ("TARGET PREMISES 2"), A WHITE AUDI BEARG NY

 STATEPLATEFFW1351 ("TARGET                VEHICLE 1"),    AND   A VAN

 BEARG THE WORDS "IT SECURITY SOLUTIONS" BEARG

 NY STATE PLATE 78835JX ("TARGET VEHICLE 2").




                              AFFIDAVIT IN SUPPORT OF SEARCH WART

           Jon Reid, being duly sworn, deposes and says:

           1. I am a detective investigator, shield #113, assigned to the Investigations Division of
the New York County Distrct Attorney's Office, and as such I am a public servant of the kind
specified in CPL 690.05(1). I have been a detective investigator for over 2 years. I have executed
and paricipated in more than 20 search warants.

           2. Ths affdavit is submitted in support of an application for a warant to search 109
Admiral Lane, a single family home with two floors, Bronx, New York ("Target Premises 1 "), and
the Offices of IT & Securty Solutions LLC at 115 East 57th Street, 11 th Floor, New York, NY
("Target Premises 2"), a 2011 White Audi New York State Plates: FFW1351, Vehicle
Identification Number ending in 2284 ('Target Vehicle 1 "), a van bearing the words "IT Securty
Solutions WE AR THE BUSINESS INTELLIGENCE PROVIDERS 212-939-7262 115 EAST
57TH STREET NEW YORK, NY" bearng NY state plate 78835JX ("Target Vehicle 2"), and the
persons of George Castro and Denise Diaz, if present therein, where there is reasonable cause to
believe that propert, proceeds, and evidence of the commission of the below crimes, among
others, and an attempt and conspiracy to commit the below crimes, may be found:
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               · Grand Larceny in the First Degree (P.L. § 155.42 et. seq.)
               · Identity Theft (P.L. §190.78 et. seq.)
               · Criminal Possession of   Stolen Propert (P.L. §165.40 et. seq.)
       3. The propert, proceeds, and evidence of the commission, paricipation or
involvement in the above crimes which may be found at Target Premise 1 and 2 and Target
Vehicle 1 and 2, includes, but is not limited to:

       a. Notes, photographs, forms, recordings and other records and documents,
       whether contained on paper in handwriting, typed, photocopy or printed form, or
       stored on computer printouts, or within computer storage media including, but not
       limited to, hard drives, USB devices, flash cards and drives, magnetic tape, CD
       ROM's, disks, diskettes, photo-optical devices, handheld computer devices, or any
       other medium, of or related to:

               (i) names, dates of birth, addresses, social security numbers, credit card
               account numbers, debit card account numbers, and any and all other
               personal identifying information as defined in P.L. § 190.77;


               (ii) accounts, subscriptions, permissions and any and all other arrangements
               or agreements related to the usage of the internet, whether though internet
               service providers or other means;

               (iii) financial transfers derived from the possession of cash curency, money
               orders, ban receipts, stocks, bonds, bills and any other financial receipts or
               records that may be stored in computers, hard drives, USB devices, flash cards
               and drves, magnetic tape, CD ROMs, disks, diskettes, photo-optical devices,
               handheld computer devices or any other medium;

       b. Any documents or banng information including but not limited to any and all
       account statements and transaction details from, related to, or between Columbia
       University, Columbia Presbyterian Hospital, TD Ban, Sovereign Ban, Chase Ban,
       First Ban of Omaha, ETrade, Capital One, George Castro, Denise Diaz, WaIter L.
       Stephens, Andre Mitchell, Jeremy Dieudonne, Dieudonne Parners, Cochise
       Quinones, Rosalina Diaz, Julio Acosta, IT & Securty Solutions LLC, and Ryan
       Daelyn Technology Corp; curency, a safe, any container or lockbox that could
       contain curency, clothing, receipts for goods and services and merchandise from the
       following merchants, including but not limited to: Apple, PC Richards and Son,
       Staples, and Home Depot.

       c. Any identification documents including, but not limited to, social securty cards,
       resident alien cards, passports, credit/debit cards and drivers' licenses, whether
       counterfeit or authentic;

       d. Electronic communication equipment including, but not limited to, telephone
       bases and handsets; cellular telephones; any device capable of sending or receiving
       electronic communcation including, but not limited to, e-mail and text messages;
       answering machines; paging devices; related items to all such equipment including,
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       but not limited to, auxiliar batteries, chargers, softare and wiring; and any stored
       information, data, and images contained on or in said communcation equipment
       including, but not limited to, stored names and numbers and recorded messages;

       e. Evidence of ownership and use of Target Premises 1 and 2 and the Target
       Vehicles 1 and 2, or the use of propert located therein by any person, including, but
       not limited to, keys, telephone bills, ban statements, leases, deeds, or rent receipts
       related to the Target Premises or other documents bearng the address of either
       George Castro, Denise Diaz or the Target Premises 1 and 2 and the Target Vehicles 1
       and 2, identification bearng the name or photograph of any person, telephone books,
       address books, date books, calendars, or personal papers.

       f. Any and all financial documentation, including, but not limited to, statements for
       ban accounts, credit or debit cards, checks (blan or fully- or parially-completed), or
       credit reports in any name, or any other documentation bearng, or associated with,
       the name Columbia University, Columbia Presbyterian Hospital, TD Ban, Sovereign
       Ban, Chase Ban, First Ban of Omaha, E*Trade, Capital One, George Castro,
       Denise Diaz, Walter L. Stephens, Andre Mitchell, Jeremy Dieudonne, Dieudonne
       Parners, Cochise Quinones, Rosalina Diaz and Julio Acosta, IT & Securty Solutions
       LLC, and Ryan Daelyn Technology Corp.

       4. It is also requested for evidentiary purposes that this Court grant authorization for
law enforcement personnel to videotape and photograph the interior of Target Premises 1 and 2;
to process Target Premises 1 and 2 and Target Vehicle 1 and 2; and to analyze, test, and in any
way scientifically process the Target Premises 1 and 2 and the Target Vehicles 1 and 2 and all
items seized therein.

       5. With respect to the stored electronic communcations, data, information and
images contained in computer disks, CD ROMs, hard drives and other data storage devices and
media described above, it is also requested that this Court grant permission to search and retrieve
the above-described communications, data, information, and images, and print them or otherwise
reproduce them by converting them or copying them into storage in another device.

       6. It is specifically requested that the search warrant authorize the seizue and
removal of any and all electronic storage devices, cellular telephones and other electronic
communication devices, related accessories and software for off-site searching. Based upon my
training and experience, the examination of such devices can be a time-consuming process due to
the constantly changing universe of technologies, models, operation systems, and types of
content stored. Because of the volume of evidence and technical requirements of forensic
examination, I am aware that searching and seizing information from such devices often requires
police officers to seize most or all such devices (along with related peripherals) and software to
be searched later by a qualified person in a laboratory or other controlled environment.

       7. It is also requested that the warrant be deemed executed once any electronic
communication equipment, computer disks, CD ROMs, hard drives and other data storage
devices seized have been seized, and that fuher analysis of these items be permitted at any time
thereafter.
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            8. As set forth below, there is reasonable cause to believe the above described propert
has been used, or is possessed for purose of being used to commit or conceal the commssion of an
offense, and the above described propert constitutes evidence or tends to demonstrate that an
offense was committed or that a paricular person paricipated in the commission of said offense.

My basis for believing that the propert is in Target Premises 1 and 2 and Target Vehicles 1 and 2
is as follows:

            a. I have been investigating the theft of monies from a Chase Ban account owned and
operated by Columbia University, where over the past month and a half several million dollars have
been diverted to several ban accounts I believe are owned and operated by, or affliated with, an
individual named George Castro.
            b. On or about November 23,2010, I was informed by Kenneth Finnegan, director of
Investigations and Technology Projects, Columbia University Department of    Public Safety, that
someone had accessed their accounts payable system and changed information relating to a
payee. According to Director Finnegan, on or about October 4,2010, a change request was sent
to and processed by Columbia University. This request pertained to a vendor account belonging
to Columbia Presbyterian HospitaL. According to Director Finnegan, Columbia University has a
relationship with Columbia Presbyterian Hospital (hereinafter, CPH), and financial payments for
services were regularly sent to a ban account affiliated with CPR This October 4th request
changed the payee information from CPH's legitimate account to a new account: a ban account
affiliated with TD Ban, account number 4252828434. A review of JP Morgan Chase account
records for the Columbia account showed that after the October 4th change form was processed,
over $5 million dollars was sent to the TD Bank account 4252828434, without knowledge or
permission or authority by Columbia University.

            c. I am fuher informed by Jerr Donnelly a Fraud Investigator at TD Ban, that
account number 4252828434 was opened on or about July 8, 2010, in the name IT Security
Solutions LLC. The name listed on the signature card for said account is George Castro, date of
birth 2/23/1962, and the account owner's address is 115 E 5ih Street, 11th Floor, New York, NY
(Target Premises 2). Based on a review of subpoenaed records from said TD Ban account, I
observed over $3.4 million dollars in credits deposited into said account from the aforementioned
Columbia University account between October 4,2010 and present. Based on my conversations
with Director Finnegan, those deposits correspond to monies debited from Columbia's Chase
account. Further review of said TD Bank records and conversations with TD Bank show that on
numerous dates between October 4, 2010 and present, over $3 million dollars was either
transferred to other ban accounts via check or wire transfer or withdrawn in cash. Based upon a
review of the records and conversations with TD Bank, monies were ultimately transferred to
other banks and baning institutions including: Sovereign Ban, First National Ban, Capital
One Ban, and E*Trade. The names of      the accounts monies were wired into include, but are not
limited to: Dieudonne Partners & Co, IT Security Solutions, Andre 1. Mitchell, Walter L.
Stephens, Jr. A further review of said TD Bank accounts show that numerous large cash
withdrawals totaling over $350,000 occurred during the month of October, and occurred at 500
Park Avenue, New York, NY and 2831 Broadway, New York, New York. Also, a review of            the
records and information from TD Bank shows that said monies transferred out of the account via
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online wire transfers. Further review of the TD Bank records between the October 4, 2010 and
present indicate purchases at the following locations: Apple, PC Richards and Son, Staples, and
Home       Depot.

            d. I am fuher inormed by Peter D'Angelo, an external fraud investigator at Captial
One Ban. Investigator D' Angelo has reviewed several accounts affliated with IT & Securty
Solutions LLC. Based upon that review, those conversations, as well as my own review of
subpoened documents from Capital One, I have observed the following: at least three accounts
exist at Capital One in the name ofIT & Security Solutions. The account numbers for said
accounts are: 7047081291,7142855350,7047081534 (hereinafter, the Capital One Accounts"). A
review of the account inormation for each account shows that the address of IT & Security
Solutions is 115 East 57th Street 11 th Floor, New York, NY ("Target Premises 2"). A fuher review
of account information shows that the signator for these business accounts is George Castro,
address 109 Admiral Lane, Bronx, New York (''Target Premises 1 "). Furher review of       transaction
detail from said Capital One accounts shows hundreds of thousands of dollars being deposited into
said accounts between October, 2010 and present. Based on my discussions with TD Ban and
review of their records, these transactions correlate with withdrawals and wire transfers from the
above referenced TD Ban account. Furher review shows that numerous cash withdrawals were
made from the Capital One Accounts. On many of      the withdrawal slips, the driver's license
identification number 485150946 and letters "NYSDL" were wrtten onto each slip. I am informed
that when a withdrawal is made, it is common banng practice to have the drawer present his
drivers license or other identification and wrte down that information onto the withdrawal slip.
Based on that information, and the il number and the indication that the ID was a New York State
Drivers License ("NYSDL"), I believe the person makg all such withdrawals on the Capital One
Accounts is the owner ofNYSDL 485150946. Furhermore, the name on each of          the withdrawal
slips lists the drawee as IT & Securty Solutions LLC. As stated above, the address for this
company on the Capita One Ban Accounts, as well as the TD Ban          accounts, is 115 East 57th
Street, 11 th Floor, New York, NY (Target Location 2). Furher review of the Capital One Accounts
show that several checks were issued from the account to individuals and corporations. A review
showed checks processed on the following dates and amounts: 1011911 0: $80,000 paid to Rosalita
Diaz, 1115110: $60,000 to Andre Mitchell, 11112110: $60,000 paid to Julio Acosta, 11116110:
$1,254 paid to Allstate, 11118110: $60,000 paid to Denise Diaz, 11/22110: $20,000 paid to Cochise
Quinones. All such checks listed the word "loan" in the notes section, except for the Allstate check.

        e. I have reviewed checks drawn upon the above Capital One accounts in the name IT
Security Solutions, and compared the signatue on those checks with the signature card from the
TD Ban account 4252828434, in an account IT Securty Solutions. Based upon this comparson, I
observed the signatues look the same, and believe the same person opened and operates both
accounts.

            f. I have reviewed New York State Deparment of    Motor Vehicle driver license
information for George Castro. My review shows that an individual named George Castro has a
New York State driver's license, ID number 485150946, date of birth Februar 23,1962, address
 109 Admiral Lane, Bronx, New York.

            g. I have performed and reviewed a CLEAR background check on George Castro and the
Target Premises 1 - 109 Admiral Lane, Bronx New York. My review of      the background search on
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109 Admiral Lane shows the owner as Denise Diaz. Furher review of common addresses where
George Castro lived recently showed a possible relative as Cochise Quinones. Based upon this
information, I believe George Castro is paying large sums of monies stolen from Columbia
University, transferred via the TD Ban account and into the Capital One Accounts, to his frends
and relatives.

            h. On November 23,2010 I went to 115 East 5ih Street, New York, New York
(Target Premises 2). I observed the building is a commercial building, and an office directory in the
lobby showed a company "IT & Securty Solutions, LLC" listed as residing on the 11 th floor.

            i. Overall, based on the information listed above, my conversations with ban
representatives, review of               banng documents, and discussions with offcials from Columbia
University and review of                their Chase baning accounts, I believe that George Castro, who lives at
the Target Address 1, is utilizing several ban accounts to steal                        money from Columbia University
and transfer it to himself and other affliates via ban accounts at Capital One, Sovereign, TD Ban,
and E*Trade. I believe once the money has been tranferred into the illegally positioned TD Ban
account, it is almost immediately transferred or wired out, or withdrawn, in an effort to hide and
disburse fuds. As George Castro is listed as the signator on the initial TD Ban account, listing
his business address as 115 East 57th Street, 11th floor, New York, NY, I believe that this address is
being utilized as a business address where millons of dollars in stolen fuds have been fueled.
Furthermore, as this is a business location I verified, and several withdrawal transactions occured
at TD Ban branches in nearby locations to the 115 East 5ih Street location, I believe monies or
evidence of these transactions may be found at the offces of IT & Securty Solutions LLC at 115
East 5ih Street, 11 th Floor, New York, NY (Target Premises 2). Based on the above inormation
from TD Ban and Columbia University, I believe that numerous transactions involving the fraud-
from the initial ban transfer to the wire transfers - all occured online. Based on my training and
experience as a detective in over 20 fraud and computer cases, I know that evidence of online
transactions and internet communcations will remain on a computer hard drive for a long period of
time - sometimes indefinitely - on the main memory or file slack, even if the user attempted to
delete such evidence it may remain on file slack on the computer hard drive and be able to be
retrieved via use of forensic softare and analysis.

           j. On November 24,2010 I went to Target Premises 1 and observed George Castro exit
Target Premises 1 and attempt to enter Target Vehicle 1. Upon apprehension of                         George Castro,
defendant admitted to having several thousands of dollars in US Currency on him, as well as an
Apple computer, and stated in substace THE MONEY JUST APPEARD IN MY ACCOUNT. I
GOT GREEDY. I BOUGHT THE CAR WITH MONEY FROM THE ACCOUNT AN MADE
OTHER PURCHASES. Based upon the context of           the defendants' statements, defendant was
referring to the Audi - Target Vehicle 1. I then recovered a backpack and envelope from
defendant, as well as keys to the Target Premises 1 and 2 and Target Vehicles 1 and 2, and a receipt
for Target Vehicle 1. The receipt shows Target Vehicle 1 was purchased on November 12,2010
for $81,267. Based on my training and experience as a detective and my experience in executing
search warants, I know people commonly keep evidence of crimes including but not limited to
documents and receipts in their vehicles. As this case involves two vehicles - one of which is
registered to a company that is being utilized to embezzle funds and the other we believe was
purchased with proceeds of the crime as it was purchased durng the time frame of the fraud and
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 there were large cash withdrawals from both the business and personal accounts of George Castro
 and IT Security Solutions, LLC, I believe that evidence of the crimes may be found in both Target
 Vehicle 1 and 2. Furhermore, I believe and am requesting that Target Vehicle 1 and 2 be seized as
 either evidence or proceeds of the aforementioned crimes.

             k. On November 24,2010 I observed in the vicinity of     Target Premises 1 two vehicles-
 Target Vehicle 1 and Target Vehicle 2. I reviewed records from the New York State Deparment of
 Motor Vehicles which revealed that Target Vehicle 1 is owned by George Castro, 109 Admiral
 Lane, Bronx, N ew York, and Target Vehicle 2 is registered to IT Securty Solutions at 115 East 57th
 Street, New York, NY. Based on the proximity of the vehicles to Target Premises 1, as well as the
 registration, I believe both vehicles are owned and operated by George Castro, and evidence of the
 above crimes may be found therein.

 WHEREFORE, deponent respectfully requests that the cour issue a warant and order of seizue in
 the form anexed (i) authorizing a search of    Target Premises 1 and 2 and Target Vehicle 1 and 2
 and of the persons of George Castro and Denise Diaz, for the above described propert, and (ii)
 directing that if such evidence is found, it be brought before the Cour.

 I t is also requested that the Cour specifically authorizes Law Enforcement to conduct the search in
 the maners as specifically requested in this affdavit.
 No previous application has been made in ths matter to any other Judge, Justice, or Magistrate.




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                                    APPROVED: Assistat District Attorney


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